Case 18-50350

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF lNDIANA
INDIANAPOLIS DIVISION

INRE:

HUGH LAWRENCE BROOKS and
TAl\/IMIE LATHERES SIMS-BROOKS,

Debtors.

 

HUGH LAWRENCE BROOKS,
Plaintiff,
VS.
DBRS, INC., d/b/a FCDP PSL TRUST
and AMERICAN EDUCATINOAL
SERVICES,

Defendants.

\/\/\/VV\./\_/\./\/\_/\/\./~/\/\/\/VV\_/

CASE NO. 09-02012-JMC-11

ADV. PROC. NO. 18-50350

NOTICE OF VOLUNTARY DISMISSAL OF ADVERSARY
PROCEEDING SOLELY AS TO DBRS, INC.

PLEASE TAKE NOTICE THAT plaintiff, Hugh Lawrence Brooks, by and through his

undersigned counsel, hereby voluntarily dismisses this adversary proceeding solely as to DBR_S,

Inc., With prejudice, pursuant to Rule 4l(a)(l)(A)(i) of the F ederal Rules of Civil Procedure, made

applicable in this proceeding pursuant to Rule 7041 of the Federal Rules of Bankruptcy Procedure.

Dated: January 8, 2019
Indianapolis, Indiana

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Respectfully submitted,

Eric C. Redma%;%330-49

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